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                                      13
                                           Attorneys for Plaintiff,
                                           Marissa Glover
                                      14                        UNITED STATES DISTRICT COURT
                                      15                     SOUTHERN DISTRICT OF CALIFORNIA

                                      16   MARISSA GLOVER,                        Case No.: '16CV1788 W    DHB
                                      17                Plaintiff,                COMPLAINT FOR DAMAGES FOR
                                                                                  VIOLATIONS OF:
                                      18                        v.
                                                                                    I.     THE ROSENTHAL FAIR
                                      19   MACY’S INC.; AND, EQUIFAX                       DEBT COLLECTION
                                                                                           PRACTICES ACT, CAL.
                                      20   INFORMATION SERVICES,                           CIV. CODE § 1788, ET
                                           LLC,                                            SEQ.;
                                      21
                                                                                    II.    THE FAIR CREDIT
                                      22                                                   REPORTING ACT, 15
                                                        Defendants.                        U.S.C. §§ 1681, ET SEQ.;
                                      23
                                                                                    III.   CALIFORNIA CONSUMER
                                      24                                                   CREDIT REPORTING
                                                                                           AGENCIES ACT, CAL.
                                      25                                                   CIV. CODE § 1785.1, ET
                                                                                           SEQ.; AND,
                                      26
                                                                                    IV.    CALIFORNIA CIVIL CODE
                                      27                                                   § 1798.92, ET SEQ.
                                      28                                          JURY TRIAL DEMANDED


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                                       1                                      INTRODUCTION
                                       2   1.    The United States Congress has found abundant evidence of the use of
                                       3         abusive, deceptive, and unfair debt collection practices by many debt
                                       4         collectors, and has determined that abusive debt collection practices contribute
                                       5         to the number of personal bankruptcies, to marital instability, to the loss of
                                       6         jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
                                       7         Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
                                       8         collection practices by debt collectors, to insure that those debt collectors who
                                       9         refrain from using abusive debt collection practices are not competitively
                                      10         disadvantaged, and to promote consistent State action to protect consumers
                                      11         against debt collection abuses.
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                                      12   2.    In addition, the United States Congress has also found that the banking system
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                                      13         is dependent upon fair and accurate credit reporting. Inaccurate credit reports
                                      14         directly impair the efficiency of the banking system, and unfair credit
                                      15         reporting methods undermine the public confidence, which is essential to the
                                      16         continued functioning of the banking system. As such, Congress enacted the
                                      17         Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”) to insure fair
                                      18         and accurate reporting, promote efficiency in the banking system and protect
                                      19         consumer privacy. The FCRA seeks to ensure consumer reporting agencies
                                      20         exercise their grave responsibilities with fairness, impartiality, and a respect
                                      21         for the consumer’s right to privacy because consumer reporting agencies have
                                      22         assumed such a vital role in assembling and evaluating consumer credit and
                                      23         other information on consumers.       The FCRA also imposes duties on the
                                      24         sources that provide credit information to credit reporting agencies, called
                                      25         “furnishers.”
                                      26   ///
                                      27   ///
                                      28   ///


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                                       1   3.      The California legislature has determined that the banking and credit system
                                       2           and grantors of credit to consumers are dependent upon the collection of just
                                       3           and owing debts and that unfair or deceptive collection practices undermine
                                       4           the public confidence that is essential to the continued functioning of the
                                       5           banking and credit system and sound extensions of credit to consumers. The
                                       6           Legislature has further determined that there is a need to ensure that debt
                                       7           collectors exercise this responsibility with fairness, honesty, and due regard
                                       8           for the debtor’s rights and that debt collectors must be prohibited from
                                       9           engaging in unfair or deceptive acts or practices.1
                                      10   4.      MARISSA GLOVER (“Plaintiff”), by Plaintiff’s attorneys, brings this action
                                      11           to challenge the actions of MACY’S, INC. (“Macy’s” or “Defendants”); and,
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                                      12           EQUIFAX INFORMATION SERVICES, LLC (“Equifax” or “Defendants”);
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                                      13           with regard to attempts by Defendants, debt collectors, to unlawfully and
                                      14           abusively collect a debt allegedly owed by Plaintiff, and this conduct caused
                                      15           Plaintiff damages.      Similarly, said action is also based upon Defendants’
                                      16           respective failures to report accurate information to Plaintiff’s credit report
                                      17           following notification that the tradelines were inaccurate.
                                      18   5.      Plaintiff makes these allegations on information and belief, with the exception
                                      19           of those allegations that pertain to a plaintiff, or to a plaintiff’s counsel, which
                                      20           Plaintiff alleges on personal knowledge.
                                      21   6.      While many violations are described below with specificity, this Complaint
                                      22           alleges violations of the statute cited in its entirety.
                                      23   7.      Unless otherwise stated, all the conduct engaged in by Defendant took place
                                      24           in California.
                                      25   8.      Any violations by Defendants were knowing, willful, and intentional, and
                                      26           Defendant did not maintain procedures reasonably adapted to avoid any such
                                      27           violation.
                                      28   1
                                               Cal. Civ. Code §§ 1788.1 (a)-(b)

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                                       1   9.   Unless otherwise indicated, the use of Defendant’s name in this Complaint
                                       2        includes all agents, employees, officers, members, directors, heirs, successors,
                                       3        assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                       4        of Defendant’s named.
                                       5                                       JURISDICTION AND VENUE
                                       6   10. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331; 15 U.S.C. §
                                       7        1692; 15 U.S.C. § 1681p; and, 28 U.S.C. § 1367 for supplemental state
                                       8        claims.
                                       9   11. This action arises out of Defendants’ violations of (i) the Rosenthal Fair Debt
                                      10        Collection Practices Act, Cal. Civ. Code § 1788.17 (“RFDCPA”); (ii) Fair
                                      11        Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et seq. (“FCRA”); (iii)
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                                      12        the California Consumer Credit Reporting Agencies Act, Cal. Civ. Code §
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                                      13        1785.1, et seq. (“CCCRAA”); and, (iv) California’s Identity Theft Act,
                                      14        California Civil Code §§ 1798-92, et seq (“CITA”).
                                      15   12. Because Defendants conduct business within the State of California, personal
                                      16        jurisdiction is established.
                                      17   13. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      18        Plaintiff resides in the County of San Diego, State of California which is
                                      19        within this judicial district; (ii) the conduct complained of herein occurred
                                      20        within this judicial district; and, (iii) Defendants conducted business within
                                      21        this judicial district at all times relevant.
                                      22                                            PARTIES
                                      23   14. Plaintiff is a natural person who resides in the County of San Diego, State of
                                      24        California, from whom various debt collectors sought to collect a consumer
                                      25        debt which was due and owing or alleged to be due and owing from Plaintiff.
                                      26        In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                                      27        1692a(3); Cal. Civ. Code § 1785.3(c); and, 15 U.S.C. § 1681a(c).
                                      28


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                                       1   15. Plaintiff is a “Victim of Identity Theft” as that term is defined by Cal. Civ.
                                       2        Code § 1798.82(d).
                                       3   16. Defendant Macy’s is a company operating from the State of Ohio.
                                       4   17. Defendant Equifax is a limited liability company incorporated in the State of
                                       5        Georgia.
                                       6   18. Macy’s is a furnisher of information as contemplated by FCRA sections
                                       7        1681s-2(a) & (b), that regularly and in the ordinary course of business furnish
                                       8        information to one or more consumer reporting agencies about consumer
                                       9        transactions or experiences with any consumer.
                                      10   19. Plaintiff is informed and believes, and thereon alleges, that Macy’s, in the
                                      11        ordinary course of business, regularly, on behalf of themselves or others,
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                                      12        engage in “debt collection” as that term is defined by California Civil Code §
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                                      13        1788.2(b), and are therefore “debt collectors” as that term is defined by
                                      14        California Civil Code § 1788.2(c).
                                      15   20. Defendant Equifax is a “consumer reporting agency” as that term is defined
                                      16        by 15 U.S.C. § 1681a(f).
                                      17   21. The “Credit Bureaus” shall refer to Equifax; Experian Information Solutions,
                                      18        Inc.; and, Trans Union LLC.
                                      19   22. This action arises out of a “debt” as that term is defined by Cal. Civ. Code §
                                      20        1788.2(d) that was incurred as a result of a “consumer credit transaction” as
                                      21        defined by Cal. Civ. Code § 1788.2(e).
                                      22   23. The causes of action herein also pertain to Plaintiff’s “consumer credit report”
                                      23        as that term is defined by Cal. Civ. Code § 1785.3(d), in that inaccurate
                                      24        representations of Plaintiff’s credit worthiness, credit standing, and credit
                                      25        capacity were made via written, oral, or other communication of information
                                      26        by a consumer credit reporting agency, which is used or is expected to be
                                      27        used, or collected in whole or in part, for the purposes of serving as a factor in
                                      28        establishing Plaintiff’s eligibility for, among other things, credit to be used


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                                       1        primarily for personal, family, household and employment purposes.
                                       2   24. Macy’s is a “claimant” as that term is defined by California Civil Code §
                                       3        1798.92(a).
                                       4                            GENERAL FACTUAL ALLEGATIONS
                                       5   25. At all times relevant, Plaintiff is an individual residing within the State of
                                       6        California.
                                       7   26. Beginning in mid-2015, Plaintiff learned for the first time that Defendants
                                       8        were reporting multiple accounts to Plaintiff’s credit report that Plaintiff did
                                       9        not incur.
                                      10   27. Upon conducting an investigation, Plaintiff learned that Plaintiff was the
                                      11        victim of identity theft.
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                                      12   28. Thereafter, Plaintiff attempted to resolve these accounts informally with each
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                                      13        of the reporting parties.
                                      14   29. Notwithstanding these informal attempts, Macy’s continued Macy’s harassing
                                      15        collection efforts through telephone calls; demeaning collection letters; and,
                                      16        horrible credit due to debts that Plaintiff did not incur.
                                      17   30. Subsequently, Plaintiff disputed Macy’s tradeline discussed herein by written
                                      18        communication dated December 16, 2015 which was sent to the Credit
                                      19        Bureaus via certified mail.
                                      20   31. In so doing, Plaintiff provided an abundance of documentation to establish
                                      21        that the tradeline was fraudulent and/or compromised through identity theft,
                                      22        including an identity theft police report filed by Plaintiff, a receipt and
                                      23        confirmation number of an Identity Theft Affidavit submitted to the FTC by
                                      24        Plaintiff, and a copy of Plaintiff’s driver’s license which contained Plaintiff’s
                                      25        signature.
                                      26   32. While numerous other furnishers deleted the inaccurate and misleading
                                      27        information, Macy’s refused to do so despite being provided with the same
                                      28        documentation.


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                                       1   33. The repeated and continuous violations described herein have caused Plaintiff
                                       2        unnecessary stress and anxiety. Despite this knowledge, Macy’s continued to
                                       3        pursue Plaintiff for an invalid debt causing Plaintiff to suffer.
                                       4   34. As a direct and proximate result of Defendants’ willful action and inaction,
                                       5        Plaintiff has suffered actual damages, including, but not limited to, reviewing
                                       6        credit reports, preparing and mailing dispute letters, attorneys’ fees, loss of
                                       7        credit, loss of ability to purMacy’s and benefit from credit, increased costs for
                                       8        credit, mental and emotional pain and anguish, and humiliation and
                                       9        embarrassment of credit denials. Plaintiff has further spent countless hours
                                      10        and suffered pecuniary loss in attempting to correct Defendants’ inaccurate
                                      11        and derogatory information, without success.
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                                      12   35. Since these efforts were unsuccessful, Plaintiff was required to bring this
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                                      13        action to finally resolve Plaintiff’s remaining disputes.
                                      14                          FACTUAL ALLEGATIONS RE: MACY’S
                                      15   36. In or about 2015, an imposter opened an account with Macy’s on behalf of
                                      16        Plaintiff without Plaintiff’s knowledge and/or consent, truncated account
                                      17        number beginning with 44041739 (the “Account”).
                                      18   37. Thereafter, Macy’s engaged in collection activity against Plaintiff by reporting
                                      19        Plaintiff’s alleged debt to the Credit Bureaus as an outstanding obligation and
                                      20        by sending collection letters and placing collection calls to Plaintiff.
                                      21   38. In response to said collection activity, Plaintiff disputed the alleged debt
                                      22        alleged to be owed to Macy’s on or around December 16, 2015.
                                      23   39. Specifically, Plaintiff disputed the Macy’s tradeline discussed herein pursuant
                                      24        to 15 U.S.C. § 1681i(a)(2) by written communication dated December 16,
                                      25        2015, which was sent to the Credit Bureaus via certified mail, and instructed
                                      26        the Credit Bureaus to block the Macy’s tradeline pursuant to section 605B of
                                      27        the FCRA because the account was created and/or compromised through
                                      28        identity theft.


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                                       1   40. Enclosed with the dispute letters sent to the Credit Bureaus was a copy of a
                                       2         police report Plaintiff filed for her identity theft, a receipt and confirmation
                                       3         number of an Identity Theft Affidavit submitted to the FTC, and a copy of
                                       4         Plaintiff’s driver’s license for verification purposes.
                                       5   41. Upon information and belief, the Credit Bureaus timely notified Macy’s of
                                       6         Plaintiff’s dispute.
                                       7   42. The Credit Bureaus were required to conduct a reasonable reinvestigation into
                                       8         this specific account on Plaintiff’s consumer report pursuant to 15 U.S.C.
                                       9         §1681i.
                                      10   43. Macy’s was required to conduct a reasonable reinvestigation into this specific
                                      11         account on Plaintiff’s consumer report pursuant to 15 U.SC. § 1681s-
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                                      12         2(b)(1)(A).
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                                      13   44. In January 2016, Plaintiff received notification from the Credit Bureaus that
                                      14         Macy’s and the Credit Bureaus received notice of Plaintiff’s dispute pursuant
                                      15         to 15 U.S.C. § 1681i(a)(6) and was providing the results of the reinvestigation.
                                      16   45. Despite receipt of this information, Macy’s continued collection activity with
                                      17         regard to this fraudulent account and has continued to report the alleged debt
                                      18         on Plaintiff’s credit report.
                                      19   46. The Credit Bureaus did not provide notice to Plaintiff that Plaintiff’s dispute
                                      20         was “frivolous or irrelevant,” pursuant to 15 U.S.C. § 1681i(a)(3), yet still
                                      21         allowed the inaccurate and misleading Macy’s account information to report
                                      22         on Plaintiff’s credit reports.
                                      23   47. The Credit Bureaus were required to block the Macy’s tradeline within four
                                      24         business days from receipt of Plaintiff’s December 16, 2015 identity theft
                                      25         dispute, pursuant to 15 U.S.C. §1681c-2(a).
                                      26   ///
                                      27   ///
                                      28   ///


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                                       1   48. However, not only did Equifax fail to block the Macy’s tradeline within four
                                       2        business days from receipt of Plaintiff’s December 16, 2015 identity theft
                                       3        dispute, Equifax has allowed the Macy’s account to continue reporting as of
                                       4        the date of the filing of this complaint.
                                       5   49. However, both Experian and Trans Union properly deleted the disputed
                                       6        Macy’s Account following investigation of Plaintiff’s dispute.
                                       7   50. Accordingly, Equifax failed to follow reasonable procedures to assure
                                       8        maximum possible accuracy of the information concerning Plaintiff and
                                       9        violated 15 U.S.C. § 1681e(b).
                                      10   51. Further, the Equifax should have discovered from their records, including
                                      11        Plaintiff’s formal dispute, that the Account being reported by Macy’s was
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                                      12        inaccurate and materially misleading because it suggested that Plaintiff’s
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                                      13        Account with Macy’s was legitimate and delinquent, even though the Macy’s
                                      14        Account was created and/or compromised through identity theft. Moreover,
                                      15        upon information and belief, various other disputed accounts by other credit
                                      16        furnishers were blocked by Equifax following Plaintiff’s identity theft dispute,
                                      17        yet Equifax continued to allow the negative Macy’s Accounts to report on
                                      18        Plaintiff’s credit reports.
                                      19   52. Accordingly, Equifax failed to conduct a reasonable investigation with respect
                                      20        to the disputed information as required by 15 U.S.C. §1681i.
                                      21   53. Moreover, Macy’s failed to provide notice of dispute to the Credit Bureaus as
                                      22        required by 15 U.S.C. §1681s-2(a)(3).
                                      23   54. Upon information and belief, Macy’s investigation was unreasonable. More
                                      24        specifically, Macy’s should have discovered from its records, including
                                      25        Plaintiff’s formal dispute, that the information Macy’s was reporting was
                                      26        inaccurate and materially misleading because it suggested that the Macy’s
                                      27        Account was legitimate and delinquent, even though the Macy’s Account
                                      28        were created and/or compromised through identity theft.


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                                       1    55. Accordingly, Macy’s failed to conduct a reasonable investigation with respect
                                       2         to the disputed information as required by 15 U.SC. § 1681s-2(b)(1)(A) by:
                                       3              A. Failing to remove all of the disputed and incorrect information, and
                                       4              B. Failing to notate, as required, Plaintiff’s dispute.
                                       5    56. Macy’s failed to review all relevant information provided by Plaintiff in the
                                       6         dispute to the Credit Bureaus, as required by and in violation of 15 U.SC. §
                                       7         1681s-2(b)(1)(B).
                                       8    57. Due to Macy’s failure to reasonably investigate, Macy’s further failed to
                                       9         correct and update Plaintiff’s information as required by 15 U.S.C. § 1681s-
                                      10         2(b)(1)(E), thereby causing continued reporting of inaccurate information in
                                      11         violation of 15 U.S.C. § 1681-s(2)(b)(1)(C).
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                                      12    58. By inaccurately reporting account information after notice and confirmation
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                                      13         of its errors, Macy’s failed to take appropriate measures as required by 15
                                      14         U.S.C. § 1681s-2(b)(1)(D); and, (E).
                                      15    59. Through this conduct, Macy’s has violated Cal. Civ. Code § 1785.25(a) by
                                      16         furnishing information to consumer reporting agencies that Macy’s knew or
                                      17         should known was inaccurate.
                                      18    60. Plaintiff’s continued efforts to correct Macy’s and Equifax’s erroneous and
                                      19         negative reporting of the Macy’s account by communicating Plaintiff’s
                                      20         dispute with Equifax were fruitless.
                                      21    61. Macy’s and Equifax’s continued inaccurate and negative reporting of the
                                      22         Macy’s account in light of their knowledge of the actual error were willful.
                                      23    62. Macy’s and Equifax’s failure to correct the previously disclosed inaccuracies
                                      24         on Plaintiff’s credit reports was intentional and in reckless disregard of its
                                      25         duty to refrain from reporting inaccurate information. Accordingly, Macy’s
                                      26         and Equifax willfully and negligently failed to comply with its respective
                                      27         duties to reasonably investigate Plaintiff’s dispute.
                                      28


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                                       1    63. Macy’s and Equifax’s inaccurate and negative reporting damaged Plaintiff’s
                                       2          creditworthiness.
                                       3    64. Subsequently, Plaintiff attempted to obtain goods and/or services only
                                       4          available to consumers with satisfactory credit reports. However, said goods
                                       5          and/or services were denied to Plaintiff due in part to the Macy’s tradeline on
                                       6          Plaintiff’s credit reports.
                                       7    65. Said tradeline has affected Plaintiff negatively due to the reporting of multiple
                                       8          delinquencies and has negatively impacted Plaintiff’s debt to income ratio
                                       9          which has lowered Plaintiff’s credit score. Moreover, Macy’s has also failed
                                      10          to report to the bureaus that the Macy’s account at issue was incurred as the
                                      11          result of identity theft.
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                                      12    66. Through this conduct, Macy’s violated 15 U.S.C. § 1692e by using false,
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                                      13          deceptive, and misleading representations in connection with the collection of
                                      14          Plaintiff’s alleged debt.     This section is incorporated into the RFDCPA
                                      15          through Cal. Civ. Code § 1788.17; thus, Macy’s violated Cal. Civ. Code §
                                      16          1788.17.
                                      17    67. Through this conduct, Macy’s violated 15 U.S.C. § 1692e(2)(A) by falsely
                                      18          representing the character, amount, and legal status of the fraudulent debt in
                                      19          connection with the collection of Plaintiff’s alleged debt. This section is
                                      20          incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                      21          Macy’s violated Cal. Civ. Code § 1788.17.
                                      22    68. Through this conduct, Macy’s violated 15 U.S.C. § 1692e(8) by
                                      23          communicating credit information which is known or should be known to be
                                      24          false in connection with the collection of Plaintiff’s alleged debt. This section
                                      25          is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                      26          Macy’s violated Cal. Civ. Code § 1788.17.
                                      27    ///
                                      28    ///


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                                       1    69. Through this conduct, Macy’s violated 15 U.S.C. § 1692e(10) by using false
                                       2           representations and deceptive means to collect Plaintiff’s alleged debt. This
                                       3           section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17;
                                       4           thus, Macy’s violated Cal. Civ. Code § 1788.17.
                                       5    70. Through this conduct, Macy’s violated 15 U.S.C. § 1692f by using unfair and
                                       6           unconscionable means to collect Plaintiff’s alleged debt.    This section is
                                       7           incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                       8           Macy’s violated Cal. Civ. Code § 1788.17.
                                       9    71. Through this conduct, Macy’s violated 15 U.S.C. § 1692f(1) by collecting an
                                      10           amount not expressly authorized by the agreement creating the debt or
                                      11           permitted by law. This section is incorporated into the RFDCPA through Cal.
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                                      12           Civ. Code § 1788.17; thus, Macy’s violated Cal. Civ. Code § 1788.17.
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                                      13    72. In addition, Macy’s continued illegal collection actions and continued
                                      14           reporting on Plaintiff’s credit reports after failing to conduct a reasonable
                                      15           investigation into Plaintiff’s identity theft claims violate Cal. Civ. Code §
                                      16           1798.92 et seq.
                                      17                         CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                      18                                          COUNT I
                                      19          VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                      20                        Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                      21                                  [AGAINST MACY’S ONLY]
                                      22    73. Plaintiff incorporates by reference all of the above paragraphs of this
                                      23           Complaint as though fully stated herein.
                                      24    74. The foregoing acts and omissions constitute numerous and multiple violations
                                      25           of the RFDCPA.
                                      26    ///
                                      27    ///
                                      28    ///


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                                       1    75. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                       2          any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                       3          damages for a knowing or willful violation in the amount up to $1,000.00
                                       4          pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
                                       5          costs pursuant to Cal. Civ. Code § 1788.30(c) from each Defendant except the
                                       6          Credit Bureaus.
                                       7                                     COUNT II
                                                            VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                       8
                                                                     15 U.S.C. §§ 1681-1681X (FCRA)
                                       9
                                                                       [AGAINST ALL DEFENDANTS]
                                      10
                                      11    76. Plaintiff incorporates by reference all of the above paragraphs of this
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                                      12          Complaint as though fully stated herein.
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                                      13    77. The foregoing acts and omissions constitute numerous and multiple violations
                                      14          of the FCRA.
                                      15    78. As a result of each and every negligent violation of the FCRA, Plaintiff is
                                      16          entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and
                                      17          reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2), from
                                      18          Defendants.
                                      19    79. As a result of each and every willful violation of the FCRA, Plaintiff is
                                      20          entitled to actual damages or damages of not less than $100 and not more than
                                      21          $1,000 and such amount as the court may allowed for all other class members,
                                      22          pursuant to 15 U.S.C. § 1681n(a)(1)(A); punitive damages as the court may
                                      23          allow, pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable attorney’s fees and
                                      24          costs pursuant to 15 U.S.C. § 1681n(a)(3) from each Defendant.
                                      25    ///
                                      26    ///
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                                       1                                          COUNT III
                                       2      VIOLATION OF THE CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES
                                       3                                             ACT
                                       4                           CAL. CIV. CODE § 1785.1, ET SEQ.
                                       5                                [AGAINST ALL DEFENDANTS]
                                       6    80. Plaintiff incorporates by reference all of the above paragraphs of this
                                       7          Complaint as though fully stated herein.
                                       8    81. The foregoing acts and omissions constitute numerous and multiple violations
                                       9          of the California Consumer Credit Reporting Agencies Act.
                                      10    82. In the regular course of its business operations, Defendants routinely furnish
                                      11          information to credit reporting agencies pertaining to transactions between
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                                      12          Defendants and Defendants’ consumers, so as to provide information to a
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                                      13          consumer’s credit worthiness, credit standing and credit capacity.
                                      14    83. Because Defendants are each a partnership, corporation, association, or other
                                      15          entity, and are therefore each a “person” as that term is defined by Cal. Civ.
                                      16          Code § 1785.3(j), Defendants are and always were obligated to not furnish
                                      17          information on a specific transaction or experience to any consumer credit
                                      18          reporting agency if the person knows or should have known that the
                                      19          information is incomplete or inaccurate, as required by Cal. Civ. Code §
                                      20          1785.25(a). Since Defendants received all documents required to determine
                                      21          the fraudulent nature of Plaintiff’s alleged debts, Defendants should have
                                      22          known that the accounts at issue did not belong to Plaintiff.
                                      23    ///
                                      24    ///
                                      25    ///
                                      26    ///
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                                       1                                          COUNT IV
                                       2                    VIOLATIONS OF CALIFORNIA’S IDENTITY THEFT ACT
                                       3                              CAL. CIV. CODE § 1798.92-1798.97
                                       4                                  [AGAINST MACY’S ONLY]
                                       5    84. Plaintiff incorporates by reference all of the above paragraphs of this
                                       6           Complaint as though fully stated herein.
                                       7    85. The foregoing acts and omissions constitute numerous and multiple violations
                                       8           of the Cal. Civ. Code § 1798.92, including but not limited to each and every
                                       9           one of the above-cited provisions of Cal. Civ. Code § 1798.92.
                                      10    86. As a result of each and every violation of Cal. Civ. Code § 1798.92, Plaintiff
                                      11           is entitled to any actual damages pursuant to Cal. Civ. Code § 1798.93(c)(5);
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                                      12           statutory damages in an amount up to $30,000.00 pursuant to Cal. Civ. Code §
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                                      13           1798.93(c)(6); costs pursuant to Cal. Civ. Code § 1798.93(c)(5), attorney’s
                                      14           fees and costs pursuant to Cal. Civ. Code § 1798.93(c)(5) and any equitable
                                      15           relief the Court deems appropriate pursuant to Cal. Civ. Code § 1798.93(c)(5).
                                      16                                     PRAYER FOR RELIEF
                                      17    WHEREFORE, Plaintiff prays that judgment be entered against each Defendant
                                      18    for:
                                      19           • An award of actual damages, in an amount to be determined at trial or
                                      20              damages of a maximum of $1,000 pursuant to 15 U.S.C. § 1681n(a)(1)(A),
                                      21              against Defendants for each incident of willful noncompliance of the
                                      22              FCRA;
                                      23           • An award of actual damages, in an amount to be determined at trial,
                                      24              pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                      25              individually;
                                      26           • An award of actual damages, in an amount to be determined at trial,
                                      27              pursuant to Cal. Civ. Code § 1798.93(c)(5);
                                      28


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                                       1          • An award of punitive damages, as the Court may allow pursuant to 15
                                       2             U.S.C. § 1681n(a)(2), against Defendants for each incident of willful
                                       3             noncompliance to the FCRA;
                                       4          • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                       5             § 1788.30(b), against each named Defendant individually;
                                       6          • An award of statutory damages of $30,000 pursuant to Cal. Civ. Code §
                                       7             1798.93(c)(6);
                                       8          • An award for costs and reasonable attorney’s fess, pursuant to 15 U.S.C. §
                                       9             1681n(a)(3), against Defendants for each incident of negligent
                                      10             noncompliance of the FCRA;
                                      11          • An award of costs of litigation and reasonable attorney’s fees, pursuant to
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                                      12             Cal. Civ. Code § 1788.30(c), against each named Defendant individually;
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                                      13          • An award of actual damages in an amount to be determined at trial
                                      14             pursuant to 15 U.S.C. § 1681o(a)(1) against Defendants for each incident
                                      15             of negligent noncompliance of the FCRA;
                                      16          • An award of costs and litigation and reasonable attorney’s fees pursuant
                                      17             15 U.S.C. § 1681n(a)(3) and 15 U.S.C. § 1681o(a)(2) against Defendants
                                      18             for each incident of noncompliance of the FCRA;
                                      19          • An award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                                      20             1798.93(c)(5);
                                      21          • An award of actual damages, in an amount to be determined at trial,
                                      22             pursuant to Cal. Civ. Code § 1785.31(a)(2)(A), against each named
                                      23             Defendant individually;
                                      24          • Award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                                      25             1785.31(a)(1); and, Cal. Civ. Code § 1785.31(d) against each named
                                      26             Defendant individually;
                                      27    ///
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                                       1         • An award of punitive damages of $100-$5,000 per willful violation of
                                       2            Cal. Civ. Code § 1785.25(a), pursuant to Cal. Civ. Code §
                                       3            1785.31(a)(2)(B);
                                       4         • For equitable and injunctive relief pursuant to Cal. Civ. Code §
                                       5            1785.31(b); and,
                                       6         • Any and all other relief the Court deems just and proper.
                                       7                                       TRIAL BY JURY
                                       8    87. Pursuant to the seventh amendment to the Constitution of the United States of
                                       9         America, Plaintiff is entitled to, and demands, a trial by jury.
                                      10
                                            Dated: July 10, 2016                                          Respectfully submitted,
                                      11
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                                      12                                                         KAZEROUNI LAW GROUP, APC
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                                      13
                                                                                               By: ___/s/ Abbas Kazerounian___
                                      14                                                             ABBAS KAZEROUNIAN, ESQ.
                                                                                                       ATTORNEY FOR PLAINTIFF
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